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              IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF MICHIGAN


DONALD J. TRUMP FOR
PRESIDENT, INC.; et al.,                      Civil Action No.: 20-cv-01083

                  Plaintiffs,                 Honorable Janet T. Neff

       v.

JOCELYN BENSON, in her capacity
as Michigan Secretary of State; et al.,

                  Defendants.




 CERTIFICATE OF PROPOSED INTERVENORS MICHIGAN STATE
 CONFERENCE NAACP, YVONNE WHITE, WENDELL ANTHONY,
                  AND ANDRE WILKES.
             PURSUANT TO LOCAL RULE 7.1(d)




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      Pursuant to Local Rule 7.1(d), the Michigan State Conference NAACP

(“NAACP-MI”),        Yvonne White, Wendell Anthony, and Andre Wilkes

(collectively, “Applicants”) respectfully submit this certificate setting forth

Applicants’ efforts to comply with their obligation to confer in good faith with the

parties and to ascertain whether Applicants’ motion to intervene will be opposed.

      On November 12, 2020, Applicants’ counsel, Julie Houk, sent an email to

Plaintiffs’ counsel, Mark F. (Thor) Hearne, II, at approximately 1:13 p.m. ET to

inquire whether his clients would oppose the motion to intervene. In the email, Ms.

Houk noted she was contacting him pursuant to the requirements of Local Rule

7.1(d). When Ms. Houk did not receive a response to this email, she attempted to

reach Mr. Hearne by calling his office at approximately 3:53 p.m. ET on November

12, 2020. Ms. Houk was unable to speak with him directly at that time, but left a

voicemail stating why she was calling and that she was reaching out to him pursuant

to Local Rule 7.1(d). Ms. Houk followed up that call with another email to Mr.

Hearne on November 12, 2020 at approximately 4:13 p.m.

      Having received no response to her efforts to contact Plaintiffs’ counsel on

November 12, 2020, Ms. Houk called Mr. Hearnes’ office on November 13, 2020

at approximately 10:00 a.m. ET. She was unable to speak with him directly at that

time, but left a message with a woman who answered the telephone requesting that

he return her call. Ms. Houk mentioned that she had left a voicemail yesterday and


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sent him two emails about the reason for her efforts to contact him. Ms. Houk

followed up that call with another email to Mr. Hearne at approximately 10:13 ET

requesting the courtesy of a reply by noon today as of the drafting of this certificate

at 12:20 ET, Applicants’ counsel has received no response to any of Ms. Houk’s

efforts to meet and confer with Plaintiffs’ counsel pursuant to Local Rule 7.1(d).

      Ms. Houk was able to meet and confer pursuant to Local Rule 7.1(d) with

Heather S. Meingast, Division Chief, Civil Litigation, Employment & Elections

Division, Michigan Department of Attorney General, whose office will be counsel

for Jocelyn Benson and the Michigan Canvassing Board in this matter, and with

Janet Anderson-Davis, counsel for the Wayne County Clerk and Wayne County

Canvassing Board. Counsel for the Defendants indicated that they would not

oppose the motion to intervene.


Dated: November 13, 2020            Respectfully submitted,




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                                /s/ Eugene Driker
                                Eugene Driker (P12959)
                                Stephen E. Glazek (P23186)
                                Barris, Sott, Denn & Driker, P.L.L.C.
                                333 West Fort Street, Suite 1200
                                Detroit, MI 48226
                                (313) 965-9725
                                edriker@bsdd.com
                                sglazek@bsdd.com

                                Kristen Clarke
                                Jon Greenbaum
                                Ezra Rosenberg
                                LAWYERS COMMITTEE FOR CIVIL RIGHTS UNDER
                                LAW
                                1500 K Street NW, Suite 900
                                Washington, DC 20005
                                Telephone: (202) 662-8300
                                kclarke@lawyerscommittee.org
                                jgreenbaum@lawyerscommittee.org
                                erosenberg@lawyerscommittee.org



                                         Counsel for Proposed Intervenor-
                                         Defendants




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                         CERTIFICATE OF SERVICE


      I hereby certify that on this date, the foregoing memorandum of law in support

of motion to intervene was filed electronically and served on Plaintiffs’ counsel of

record via the ECF system of the U.S. District Court for the Western District of

Michigan; and via e-mail on counsel for defendants.



Dated: November 13, 2020

                                              /s/ Eugene Driker




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